                  IN TH E U N ITED STA TES D ISTRICT CO U RT FOR THE

                               W ESTERN DISTM CT OF VIRGINIA

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UNITED STATES OF AM ERICA                          )
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                                                   )
W ARREN EVAN S,Jr.                                 )
 (a/k/attcharlie'sbrother'')                       )
                                      A F F 1D A V IT


       1,Thom asF.Hickey,being duly sworn,depose and stateasfollows:

    IhavebeenaSpecialAgentwiththeUnitedStatesDrugEnforcementAdministration(DEA)
    since Febnlary 1999. 1 am currently assigned to Enforcement Group 44, W inchester

    Resident Oftk e, of the DEA W ashington Division Office and nm co-located with the

    NorthwestVirginia RegionalDrug and Gang Task Force (NW VRDGTF). lhave received
    training in a11areasofnarcoticsinvestigationsincluding search and seizurelawsand statutes

    pertaining to enforcem ent of the Controlled Substances Act. Since becom ing a 1aw

    enforcem ent oftk er, l have either conducted or assisted other 1aw enforcem ent offcers in

    conducting mlmerous narcoticsinvestigationsthathaveresulted in the arrestand conviction

    ofnumerousindividuals.

 2. This affidavit is subm itted in support of a C rim inal Com plaint and A rrest W arrant

    chargingW ARREN EVANS,Jr.ta/ldaçtcharlie'sbrother'')withonecountof,from adate
    unknown butcontinuing through on or aboutOctober 17,2014,Conspiracy to Distribute

    H eroin, a Schedule l Controlled Substance, in violation of Title 21, United Su tes Code,

    Sedion846and Sections841(a)(1)and841(b)(1)(C).


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 3. The facts and information contained in thisaftidavitare based upon m y personalknowledge

    as w ell as the observations of other law enforcem ent ofticers involved in this investigation.

    A1lobservationsthatwerenotpersonallym ade by me wererelated to me by the personswho

    m ade such observations or1have learned aboutthem through their reports. This affidavit

    contains inform ation necessary to supportprobable cause for this application. It is not

    intended to include each and every fact and m atter observed by me or known to the

    governm ent.

 4. In 2013 and 2014,the W inchesterResidentOffice (W RO)and theNW VRDGTF noted the
    increase in both fatalheroin overdoseand non-fatalheroin overdose cases. Asa resultofthe

    investigations,a com m on Baltim ore-based heroin source of supply for m ultiple overdoses,

    both fatal and non-fatal, was identified as ttcharlie''. These investigations included

    num erousinterviews,review ofm any records,and contactswith law enforcem entelsewhere

    in the region. The W RO/NW VRDGTF leam ed that ttcharlie's'' drug traftkking

    organization included numerousW inchesterarea sub-distributors and users,aswellassub-

    distributors and users in the M artinsbtzrg,W V area. The W RO/NW VRDGTF identified

    Gûcharlie''as ChristopherRojuan GILES (GILES). M ultiple sub-distributors and.users
    identified ttcharlie's brother''as accompanying GILES when they purchased heroin and

    facilitating those transactions.

 5. In October 2014, SA Hickey and NW VRDGTF Det. Andrew Perlick interviewed a

    Cooperating W itness(CW 1).CW 1provided self-incriminatory statementsto SA Hickey,in
    addition to otherinformation thathasbeen corroborated by otherwitnesses involved in this

    investigation. CW 1 stated that about one year ago,he/she began driving from the area of

    W inchesterT rederick County,VA to Baltim ore w ith other associates and w entto tûcharlie''



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    in Baltimore to purchase heroin thatthey broughtback to theW inchester/Frederick Cotmty,

    VA area. CW 1 was shown a photograph ofGILES,whom he/she identified as ûlcharlie''.

    CW 1 stated that initially he/she would purchase 20g of heroin at least once a week from

    GILES,and then wasptlrchasing atleast30g-35g ofheroin atleastapproxim ately every two

    weeks from GILES and had purchased 100g-110g ofheroin ata single tim e f'
                                                                            rom G ILES.

    CW 1 stated thatthe lasttim e he/she w entto G ILE S was in early O ctober 2014,and he/she

    purchased 35g ofheroin. CW 1 stated thatGILES was unreachable for about 1-2 months

    around March/Apl'il2014,and when GILES gotback.an individualGILES identitiedashis
    ççbrother'' accom panied him to the drug transactions on a regular basis. CW 1 reported

    ûicharlie'sbrother''would cotmtthem oney and sometim espassdnzgsthrough the window

    and Gçcharlie's brother''was always in the passenger seat. CW 1 said that when he/she

    arrived in Baltimore to plzrchase drugs,there would be other cars also waiting to m eet

    GILES,and they allhad Virginia and W est Virginia license plates. CW 1 was shown a

    photograph ofW ARREN EVANS,Jr.,whom he/sheidentitied asidcharlie'sbrother''.

 6. In November2014,SA Hickey interviewed aCooperating W itness(CW 2). CW 2 provided
    self-incriminatory statem ents to SA Hickey,in addition to other inform ation thathas been

    corroborated by other witnesses involved in this investigation. CW 2 was shown a

    photograph ofGILES,whom he/she identified as(ûcharlie''and his/hersourceofsupply for

    heroin. CW 2 stated he/she was driving with others to GILES in Baltim ore beginning in

    approxim ately Febnzary 2013 and purchasing atleast .5g-2g ata tim e,at least 3-4 tim es per

    week,through mid-october 2014 (with the exception of one month around April2014),
    including atleastone purchase of 10g ofheroin. At leastsom e ofthese drugsw ere returned

    to and distributed in the W inchesterT rederick County,V A area.




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 7. CW 2 was shown a photograph of W ARREN EVANS, Jr., whom he/she identified as

    çtc harlie's brother'' who rode w ith G ILES. CW 2 said thathe/she w as notsure if he w as

   hisrealbrother,butGILES referred to him ashisbrotherand said hewasfnm ily. CW 2 said

    thatiEcharlie'sbrother''would sellheroin with GILES and thatGtcharlie'sbrother''would

    take the m oney from them ,countthe m oney,and always give itto G ILES,aswellas give

    CW 2 theheroin. CW 2 stated thatdepending on which side ofthe carGILES pulled up on,

    çtc harlie's brother''m ightdo m ore.

 8. In November 2014, SA Hickey and NW VRDGTF SA M ark Quince interviewed a
    Cooperating W itness(CW 3).CW 3provided self-incriminatory statementsto SA Hickey,in
    addition to otherinformation thathas been corroborated by other witnesses involved in this

    investigation. CW 3 is an associate ofCW 2. CW 3 stated thatin the fallof2013,CW 3 and

    CW 2 began going to GILES a/k/a ttcharlie''to plzrchase heroin in Baltim ore,M D. CW 3

    recalled they were going to G IL ES 4-5 tim es per w eek and pm chasing 1g-1.5g of heroin

    each time atthattim e. CW 3 said thatthem ostheroin they purchased from GILES was 10g.

    CW 3 stated thaton the day oftheir 10g heroin purchase,theguy waiting on GILES nextto

    them purchased 30g of heroin and 1.5ozs of crack cocaine. CW 3 stated thatthey w ent to

    GILES atthisrate tmtilhe quitdealing fora littlein the spring of2014,butthatGILES was

    back atitafew weekslater.CW 3 stated thatthere could be 30 carsin theparking 1otwaiting

    forsom eone to deliverheroin to them when he/shearrived aftercalling GILES,and they a11

    had W estVirginia and Virginialicense plates.Atleastsome ofthesedrugswere returned to

    and distributed in theW inchester/Frederick County,VA area. CW 3 stated thathe/she would

    see G ILES w ith gallon sized bags ofheroin on a regularbasis. CW 3 also stated thatG ILE S

    would sellcrack cocaine and he/she purchased crack cocaine from G ILES.



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 9. ln April2015,CW 3 wasshown a photograph ofW ARREN EVANSNJr.,and wasasked if

    he/she recognized him . CW 3 identified the photograph as ûtc harlie's brother'',who rode

    with GILES. CW 3 said thathe/she was not sure ifhe was his realbrother,but GILES

    refen'ed to him ashisbrother. CW 3 said thatW ARREN EVANS,Jr.would sellheroin and

    crack cocaine with GILES and thathe would take the money from them ,countthe money,

    and give it to GILES,as wellas give them the heroin and crack cocaine. CW 3 stated

    W A R R EN EV AN S, Jr. was alw ays with G ILE S and recalled several encounters w here

    W ARREN EVANS,Jr.would serve them and GILES would be serving someone else on

    the otherside ofthe vehicle.

 10.ln July 2014,SA H ickey and N W VR DG TF SA Josiah Schiavone interview ed a Cooperating

    W itness(CW 4). CW 4 provided self-incriminatory sutementsto SA Hickey,in addition to
    other inform ation that has been corroborated by other witnesses involved in this

    investigation. CW 4 stated that he/she w ent from the area of W inchester/Frederick Cotm ty,

    VA ,to Gcharlieo in Baltimore,M D and purchased heroin and crack cocaine that he/she

    broughtback to the W inchester/Frederick County,VA area. CW 4 was shown aphotograph

    of G ILES, whom he/she identified as ttc harlie'', and identified him as his/her sotzrce of

    supply for heroin and crack cocaine. CW 4 said that he/she m et G ILES about 1.5yrs ago.

    CW 4 stated thathe/she would go to GILES a few times perweek and would average 5g

    pm chases of heroin each tim e. CW 4 said thathe/she w as also buying cocaine H C1or crack

    cocaine and would buy an 8-ba11(approximately 3.5 grnms)ofeach when he/she wentand
    w ould ptlrchase abouta 1/4oz each w eek. CW 4 stated thathe/she w ould use abouthalfof it

    and sellhalfto m ake the m oney back.




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 11.ln Febnzary 2015,CW 4 wasshown a photograph ofW ARREN EVANS,Jr., whom he/she

    identi/ed asticharlie'sbrotber''and said atleast50% ofthe dealshe/she did w hh GILES

    w ere passed through W A R R EN EV AN S,Jr.,w indow to w indow .

 12.In April 2014, SA Hickey and NW VRDGTF SA Josiah Schiavone interviewed a

    Cooperating W itness(CW 5).CW 5providedself-incriminatorystatementsto SA Hickey,in
    addition to other inform ation thathasbeen conoborated by otherwitnesses involved in this

    investigation. CW 5identified Kscharlie''Faka 1tC''ashis/herprim ary heroin som ceofsupply

    in Baltimore,M D,for drugsthathe/she broughtback to the W inchester/Frederick Cotmty,

    VA area. CW 5 w as shown a photograph ofGILES which CW 5 identified as ucharlie''.

    CW 5 said about2m ospriorhe/she wasgoing to GILES 1-2 timesperweek and buying 3g

    each tim e. In a subsequentinterview,CW 5 stated thatççcharlie'sbrother''waspresenton

    severaloccasionswith GILES. CW 5 said thatiçcharlie'sbrother''would bag theheroin up

    in the quantities he/she ordered,and then conduct the transactions. CW 5 was shown a

    photograph ofW ARREN EVANS,Jr.,whom he/sheidentified asllcharlie'sbrother''.

 13.ln June2014,SA Hickey andN W VRDGTF SA Josiah Schiavoneinterviewed a Cooperating

    W itness(CW 6). CW 6 provided self-ineriminatory statementsto SA Hickey,in addition to
    other information that has been corroborated by other witnesses involved in this

    investigation. CW 6 stated thathe/she wentfrom the area ofW inchester/Frederick County,

    VA,to ttcharlie''in Baltim ore,M D and purchased heroin and crack cocaine thathe/she

    broughtback to the W inchester/Frederick Cotmty,VA area. CW 6 w as show n a photop aph

    of GILES,whom he/she identified as ttcharlie''and ttC 5''and identified him as his/her
    prim ary sotlrce of supply for heroin and crack cocaine in M arch 2014. Other evidence has




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    corroborated G ILES as the sotlrce of heroin for atleastone fataldrug overdose specitk ally

    involving CW 6,asw ell.

 14.ln a M arch 2015 interview, CW 6 stated he/she would ride to Baltimore with other

    individuals and they would go to G ILES together. CW 6 described GILES as a lçone stop

    shop'',in thathe/she could purchase heroin,cocaine HCI,and crack cocaine f'
                                                                              rom GILES.

    CW 6 said thatm any carswould be in theparking lotwith Virginiaand W estVirginialicense

    plateswaiting to purchaseheroin,cocaineHC1and/orcrack cocaine from GILES when CW 6

    w as there.

 15.CW 6 was shown a photograph of W ARREN EVANS,Jr.whom he/she said looks like

    tûcharlie's brother''. CW 6 stated when he/she purchased heroin,cocaine HCland/orcrack

    cocaine from GILES,he rem embered thatEtcharlie'sbrother''wasalwayspresentaswell

    exceptforon two occasions. CW 6 said Elcharlie'sbrother''spoke overG ILES to setthe

    price of the heroin,as wellas sold/handed over drugs to CW 6 and took and counted the

    m oney.

 16.On two datesin M arch 2014,law enforcementcompleted controlled purchases from G ILES

    and W ARREN EVANS,Jr. On each occasion,a Confidentiallnformant(Cl)contacted
    GILES and arranged to plzrchase heroin,14g on the tirstoccasion and 13g on the second

    occasion. The C1contacted GILES prior to leaving the M artinsburg,W V area and again

    near Exit 8 on 1-70 in M aryland, consistently with the m odus operandi from

    W inchesterT rederick Cotmty,VA described by al1ofthe CW sdescribed above. The C1was

    instructed by GILES to m eethim atthe Target on Reisterstown Road,in Pikesville,M D.

    The C1stated he/she anived atthe Target,waited a shorttim e,and GILES and W ARREN

    EVANS,Jr.metwith the CI. The Cl stated he/she handed the money ($1540.00 and




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    $1430.00) to the passenger (W ARREN EVANS, Jr.). Surveillance was able to see
    W ARREN EVANS, Jr.cotmting the money and observed the driver (GILES) hand
    W ARREN EVANS,Jr.theheroin to give to the Cl. W ARREN EVANS,Jr.gavehim/her

    the heroin. The Clthen departed the area and metwith investigators and ttlm ed overthe

    heroin. Each transaction was videotaped by law enforcement and shows G ILES and

    W ARREN EVANS,Jr.conductingtheheroin distribution.

 17.On M ay 2,2014,asearch warrantw asexecuted by the Baltim oreCounty Poliee Departm ent

    (BCPD) ata residence linked to GILES in Pikesville,M D. GILES waspresent atthe
    location. Approxim ately $58,000.00 was seized by BCPD atthis residence where GILES
    wasstaying.

 18.ln addition,a consent search w as perfonned by BCPD at an apartm ent lirlked to G ILE S in

    Baltim ore, M D . Present at the residence w ere W A R REN EVA N S, Jr. and another

    individual. As a result ofthe semvh,BCPD seized apm oxim ately 93 grnm s of suspected

    cocaine HCI, approxim ately 10 g'
                                    ram s of suspected heroin, three handgtms, paperwork

    belonging to GILES, and approximately $4,000.00. W ARREN EVANS, Jr. was
    interview ed and stated his friend ticllris''w as letting him and the second individualstay in

    this apartment. lnitial investigation shows one of the handgtms seized by BCPD was

    reported stolen from a residencein Frederick County,VA in December2013.

 19.W inchester/Frederick Cotm ty,V A is w ithin the W estem D istrictofV irginia. The quantities

    ofheroin described in thisAffidavitareknown to me,based on my training and experience,

    to bedistribution quantitiesofheroin.

 20.Based on theforegoing facts,thereisprobablecausetobelievethatfrom a dateunknown but

    continuing through on or about October 17,2014,the defendant,W A RR EN EV A NS,Jr.,



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    did knowingly and intentionally engage in a conspiracy to distribute heroin,a Schedule l

    Controlled Substnnce,in the W estem JudicialDistrictofV irginia and elsew here,in violation

    ofTitle21,United StatesCode,Sections846and 841(a)1).


                                           Thom as F.H ickey
                                           SpecialAgent
                                           Drug Enforcem entAdm inistration

 SW O RN A N D SU BSRIBED TO
 BEFORE M E THIS IRA DAY
 O F A PRIL,2015.


                          )
 JA M ES G . LSH
 U N ITED ST TES M AG ISTM TE JU DG E
 Harrisonburg,Virginia




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